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             IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF PENNSYLVANIA

      MADISON M. LARA, et al.                 :
                                              :
                        Plaintiffs            :
                                              :
            v.                                :
                                              :
      COL. ROBERT EVANCHICK,                  :
      Commissioner of Pennsylvania            :
      State Police                            :
                                              :
                        Defendant             :

                                     Exhibit List

Exhibit A – Lara PSP Access and Review

Exhibit B – Miller PSP Access and Review

Exhibit C – Knepley PSP Access and Review

Exhibit D – August 18, 2020 (most recent) Opioid Proclamation

Exhibit E – August 31, 2020 (most recent) COVID 19 Proclamation
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                      Exhibit A
             (Lara PSP Access and Review)
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                      Exhibit B
            (Miller PSP Access and Review)
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                      Exhibit C
           (Knepley PSP Access and Review)
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                      Exhibit D
        (August 18, 2020 Opioid Proclamation)
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                                  COMMONWEALTH OF PENNSYLVANIA
                                     OFFICE OF THE GOVERNOR



                               AMENDMENT TO
                     PROCLAMATION OF DISASTER EMERGENCY

                                      August 18, 2020

    WHEREAS, on January 10, 2018, I declared a disaster emergency due to the opioid crisis
that is ravaging the country, including the Commonwealth of Pennsylvania and its citizens;

    WHEREAS, my Proclamation of Disaster Emergency dated January 10, 2018, was renewed
by Amendment to Proclamation of Disaster Emergency (1st Amendment) on April 4, 2018, for
an additional ninety days. The April 4, 2018, 1st Amendment would have automatically expired
by operation of law on July 3, 2018, unless further extended by my official renewal;

   WHEREAS, I renewed the Proclamation of Disaster Emergency for an additional ninety
days by official action on June 28, 2018. The June 28, 2018, Amendment to Proclamation of
Disaster Emergency (2nd Amendment) was set to expire by operation of law on September 26,
2018, unless further extended by my official renewal;

   WHEREAS, I renewed the Proclamation of Disaster Emergency for an additional ninety
days by official action on September 24, 2018. The September 24, 2018, Amendment to
Proclamation of Disaster Emergency (3rd Amendment) was set to expire by operation of law on
December 23, 2018, unless further extended by my official renewal;

   WHEREAS, I renewed the Proclamation of Disaster Emergency for an additional ninety
days by official action on December 21, 2018. The December 21, 2018, Amendment to
Proclamation of Disaster Emergency (4th Amendment) was set to expire by operation of law on
March 21, 2019, unless further extended by my official renewal;

    WHEREAS, I renewed the Proclamation of Disaster Emergency for an additional ninety
days by official action on March 20, 2019. The March 20, 2019, Amendment to Proclamation
of Disaster Emergency (5th Amendment) was set to expire by operation of law on June 18, 2019,
unless further extended by my official renewal;

   WHEREAS, I renewed the Proclamation of Disaster Emergency for an additional ninety
days by official action on June 14, 2019. The June 14, 2019, Amendment to Proclamation of
Disaster Emergency (6th Amendment) was set to expire by operation of law on September 12,
2019, unless further extended by my official renewal;

   WHEREAS, I renewed the Proclamation of Disaster Emergency for an additional ninety
days by official action on September 5, 2019. The September 5, 2019, Amendment to
Proclamation of Disaster Emergency (7th Amendment) was set to expire by operation of law on
December 4, 2019, unless further extended by my official renewal;

   WHEREAS, I renewed the Proclamation of Disaster Emergency for an additional ninety
days by official action on December 3, 2019. The December 3, 2019, Amendment to
Proclamation of Disaster Emergency (8th Amendment) was set to expire by operation of law on
March 2, 2020, unless further extended by my official renewal;

   WHEREAS, I renewed the Proclamation of Disaster Emergency for an additional ninety
days by official action on February 25, 2020. The February 25, 2020, Amendment to
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Proclamation of Disaster Emergency (9th Amendment) was set to expire by operation of law on
May 25, 2020, unless further extended by my official renewal;

   WHEREAS, I renewed the Proclamation of Disaster Emergency for an additional ninety
days by official action on May 22, 2020. The May 22, 2020, Amendment to Proclamation of
Disaster Emergency (10th Amendment) is set to expire by operation of law on August 20, 2020,
unless further extended by my official renewal;

    WHEREAS, the opioid crisis continues to be of such magnitude or severity that emergency
action is necessary to protect the health, safety and welfare of affected citizens in Pennsylvania;

   WHEREAS, the opioid crisis continues to be a public health emergency in Pennsylvania
contributing to addiction, overdose emergencies and deaths; and

   WHEREAS, investigations by the Opioid Unified Coordination Group indicate that
additional resources of the Commonwealth may be needed to mitigate and contend with the
magnitude and severity of this continuing and expanding disaster emergency.

  NOW THEREFORE, pursuant to the provisions of section 7301(c) of the Emergency
Management Services Code, 35 Pa. C.S. § 7301(c), I do hereby order and direct as follows:

   1. The Proclamation of Disaster Emergency of January 10, 2018, renewed by Amendments
      to Proclamation of Disaster Emergency dated April 4, 2018, June 28, 2018, September
      24, 2018, December 21, 2018, March 20, 2019, June 14, 2019, September 5, 2019,
      December 3, 2019, February 25, 2020, and May 22, 2020, is renewed for an additional
      period of ninety days, and shall continue to apply to the Commonwealth of Pennsylvania.

   2. All directives, authorized actions and provisions of the January 10, 2018, Proclamation
      of Disaster Emergency, and the April 4, 2018, June 28, 2018, September 24, 2018,
      December 21, 2018, March 20, 2019, June 14, 2019, September 5, 2019, December 3,
      2019, February 25, 2020, and May 22, 2020, Amendments to Proclamation of Disaster
      Emergency shall remain in full force and effect until either rescinded by me or
      terminated by operation of law ninety days following the effective date of this
      Proclamation Amendment.

   3. This Proclamation Amendment (11th Amendment) shall take effect immediately.


                                             GIVEN under my hand and the Seal of the
                                             Governor, at the city of Harrisburg, on this
                                             eighteenth day of August two thousand twenty, the
                                             year of the commonwealth the two hundred and
                                             forty-fifth.



                                             TOM WOLF
                                             Governor
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                       Exhibit E
         (August 31, 2020 COVID 19 Proclamation)
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